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     VIA ECF

     Hon. Jesse M. Furman
     United States District Judge
     Thurgood Marshall Courthouse
     40 Foley Square
     Courtroom 1105
     New York, New York 10007

                   Re: Bilello et al. v. Estee Lauder, Inc. et al., No. 20-CV-4770 (JMF)
                       Gandy et al. v. Estee Lauder, Inc. et al., No. 20-CV-5779 (JMF)

     Dear Judge Furman:

            Our firm represents the Plaintiffs in connection with the above-referenced matter. Pursuant to
     Section 7(c)(ii) of the Court’s Individual Practices in Civil Cases, Section 6 of SDNY’s Electronic
     Case Filing Rules & Instructions, and the Court’s Order of January 8 2021, Plaintiffs respectfully
     submit this Letter Motion to Seal to allow Plaintiffs’ Memorandum of Law in Opposition to
     Defendants’ Motion to Dismiss filed January 6, 2021, to remain sealed in its unredacted form (ECF
     No. 39) on the Court’s docket.

            Plaintiffs have filed the above document in redacted form because it contains proprietary
     information regarding the amount The Estee Lauder Companies 401(k) Savings Plan (“Plan”) paid in
     recordkeeping fees to Aon Hewitt and/or Alight Solutions (“Alight”), the Plan’s recordkeeper.

             On December 10, 2020, Defendants filed a similar letter motion requesting this Court grant
     leave to file Defendants’ Memorandum of Law in Support of its Motion to Dismiss (ECF No. 35) and
     Exhibit 15 attached to the Declaration of René E. Thorne (ECF No. 31-15) to remain publicly available
     in redacted form, and to remain sealed in its unredacted form (ECF Nos. 32 and 33) on the Court’s
     docket. Per the December 10, 2020 Letter Motion to Seal, “Defendants’ sought Alight’s consent to
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Hon. Jesse M. Furman
January 8, 2021
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publicly disclose the amount of the recordkeeping fee […] Alight declined to consent.” On December
11, 2020, this Court issued an Order temporarily granting the Defendants’ Letter Motion to Seal and
requiring Aon Hewitt or Alight to file a letter explaining the basis as to why the documents should
remain sealed or redacted (ECF No. 38).

        On December 21, 2020, non-party Alight submitted a letter requesting that the Court maintain
the redaction or sealing of Alight’s pricing in order to protect its confidential, proprietary, and sensitive
information as “[d]isclosure of such information would cause irreparable harm to Alight in regard to its
competitors and clients, which outweighs any interest in public access to the information.” On
December 22, 2020, this Court issued an Order that the respective documents will remain in redacted
form for now with the Court evaluating whether to maintain them permanently when deciding the
underlying motion. (ECF No. 38).

       The information Plaintiffs seek to redact or file under seal in Plaintiffs’ Memorandum of Law
in Opposition to Defendants’ Motion to Dismiss filed January 6, 2021 contains the same confidential,
proprietary, and sensitive information at issue in the December 10, 2020 Letter Motion of Defendants:
the amount of recordkeeping fees paid by the Plan to Alight.

       Accordingly, Plaintiffs respectfully request that the Court grant this request, which would allow
them to respond appropriately to Defendants’ Motion to Dismiss without compromising confidential,
proprietary, and sensitive information.

                                               Respectfully submitted,

                                               CAPOZZI ADLER, P.C.


                                               /s/ Mark K. Gyandoh___________
                                               Mark K. Gyandoh, Esquire


Enclosure                                        Application GRANTED on a temporary basis.
cc: All counsel of record (via ECF)              The Court will evaluate whether to whether to
                                                 maintain the redactions on a permanent basis when
                                                 deciding the underlying motion. The Clerk of
                                                 Court is directed to terminate ECF No. 44.
                                                 SO ORDERED.



                                                                                 January 11, 2021
